Case 3:20-cv-00081-ARS Document1-1 Filed 10/06/20 Page 1 of 8

***Please be advised that the use of these forms may not be proper for your specific legal situation*****
****Please make an independent determination whether use of these forms is appropriate****

UNITED STATES DISTRICT COURT
DISTRICT OF NORTH DAKOTA

Nean Bx nt ir?

(Enter full name of each Plaintiff, above)

Civil Case No.

vs. ee
(To be assigned by Clerk of Court)

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Tim Show | Trey Keily

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(Enter full name of each Defendant, above)

JURY TRIAL DEMANDED Llves x No
(Check one)

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I. JURISDICTION. State the grounds for filing this case in Federal Court (include federal statutes or
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SAMPLE COMPLAINT 1

 
Case 3:20-cv-00081-ARS Document 1-1 Filed 10/06/20 Page 2 of 8

Ul. PLAINTIFF. For each Plaintiff list: name and address including City, County and State.

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I. DEFENDANT. For each Defendant list:
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SAMPLE COMPLAINT

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Case 3:20-cv-00081-ARS Document1-1 Filed 10/06/20 Page 6 of 8

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IV. CAIM. State the facts of your claim. Include the name of each person involved, dates and

places. Be as specific as possible. Do not give any legal argument or cite any cases or statutes. Use
additional sheets of paper if necessary.
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Vv. ADMINISTRATIVE PROCEDURES. If applicable, state whether your claim was heard by

any administrative agencies; the type of proceedings; the date and place of any proceedings; the
outcome of any administrative proceedings.

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SAMPLE COMPLAINT
Case 3:20-cv-00081-ARS Document1-1 Filed 10/06/20 Page 7 of 8

VI. RELIEF. State what you want the Court to do for you.
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Vil. SIGNATURE. Each Plaintiff must individually sign this complaint.

Signed this $74 day of ged $<

 

Signature of Plaintiff

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Printed Name of Plaintiff

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Mailing Address

Rosary wo £EY7F
City, State, Zip Code

 

Telephone Number of Plaintiff

SAMPLE COMPLAINT

 

 

 

 

 

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Signature of Plaintiff
: Printed Name of Plaintiff
Mailing Address
City, State, Zip Code
Telephone Number of Plaintiff
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Case 3:20-cv-00081-ARS Document1-1 Filed 10/06/20 Page 8 of 8

JS 44 (Rev. 12/12) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

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{b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant é rae
(EXCEPT IN U.S. PLAINTIFF CASES) CIN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)
IJ. BASIS OF JURISDICTION (Place an "X” in One Box Only) Wi. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X”" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendani)
Ol US. Government 1 3. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State G1 OC 1 Incorporated or Principal Place ao4 a4
of Business In This State
2 US. Government O4 Diversity = — CitizenofAnotherSmie =O 2 2” Incorporated and Principal Place o5 05
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a O03 OG 3. Foreign Nation go6 06
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IV. NATURE OF SUIT (Place an “X”" in One Box Only)

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

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O 130 Miller Act O 315 Airplane Product Product Liability N60 Other 28 USC 157 O 410 Antitrust
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G 220 Foreclosure G 441 Voting OG 463 Alien Detainee or Defendant) Agency Decision
0 230 Rent Lease & Ejectment O 442 Employment 7 510 Motions to Vacate O 871 IRS—Third Party 0 950 Constitutionality of
O 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 State Statutes
O 245 Tort Product Liability Accommodations O 530 General
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Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

 

Brief description of cause:

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VII. REQUESTED IN CO] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. Mgr ory JURY DEMAND: Yes No
VII. RELATED CASE(S) ot Barats Covad
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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
